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 8                              U NITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10 U NITED STATES OF AMERICA,                       Case No.: MJ-21-05164
11                     Plaintiff,                   ORDER OF DETENTION
12                                                                 3P43(a)]~a~~6~'
   v.                                               X18 U.S.C. §
13 CHRISTIAN MICHAEL MORALES,
14                     Defendant.
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16        The defendant having been arrested in this District pursuant to a warrant issued by
17 the United States District Court for the ~~L~fh.~~~ri'C~o~ l~~r~fior alleged
18 violations) of the terms and conditions of his/her [probation][supervised release]; and
19        The Court having conducted a detention hearing pursuant to Federal Rule of
20 Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a);
21        The Court finds that:
22 A.     ( The defendant has not met his/her burden of established by clear and
23        convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
24        3142(b) or (c). This finding is based on abSCev~c~ -~'9w~ ~(,~,p2,rVj~'9-c2.,
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27
28        and/or
      Case 2:21-mj-05164-DUTY Document 9 Filed 11/10/21 Page 2 of 2 Page ID #:17



 1   B.   ( The defendant has not met his/her burden of establishing by clear and
 2        convincing evidence that he/she is not likely to pose a danger to the safety of any
 3        other person or the community if released under 18 U.S.C. § 3142(b) or (c). This
 4        finding is based on: ~u- YYt,~- vlQ~. ~51~r~ l~l~,~;l.~ 9(~ ~(,~,pP~' v i~~9-vim_
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 9        IT IS THEREFORE ORDERED that the defendant be detained pending the further
10 revocation proceedings.
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12 Dated: November 10, 2021
13                                                         United States Magi    ate Judge
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